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                           No. 22-35305

        IN THE UNITED STATES COURT OF APPEALS
                FOR THE NINTH CIRCUIT


       KIM CARTER MARTINEZ, on behalf of herself and all
                  others similarly situated,

                                            Plaintiff-Appellee,

                                 v.

        ZOOMINFO TECHNOLOGIES, INC., a Delaware
                     corporation,

                                          Defendant-Appellant.

        On Appeal from the United States District Court
            for the Western District of Washington
     Case No. 3:21-cv-05725-MJP, Hon. Marsha J. Pechman


BRIEF OF AMICI CURIAE THE REPORTERS COMMITTEE FOR
FREEDOM OF THE PRESS AND 27 MEDIA ORGANIZATIONS IN
             SUPPORT OF NEITHER PARTY

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             CORPORATE DISCLOSURE STATEMENT

         Pursuant to Federal Rule of Appellate Procedure 26.1(a), the

Reporters Committee for Freedom of the Press states that it is an

unincorporated association of reporters and editors with no parent

corporation and no stock.

         The Atlantic Monthly Group LLC is a privately-held media

company, owned by Emerson Collective and Atlantic Media, Inc. No

publicly held corporation owns 10% or more of its stock.

         Cable News Network, Inc. is ultimately a wholly-owned

subsidiary of Warner Bros. Discovery, Inc., a publicly traded

corporation. Warner Bros. Discovery, Inc. has no parent company and,

to the best of Cable News Network, Inc.’s knowledge, no publicly held

company owns ten percent or more of Warner Bros. Discovery, Inc.’s

stock.

         CalMatters is a nonprofit California public benefit corporation

recognized under Section 501(c)(3) of the Internal Revenue Code. No

entity or person has an ownership interest of 10 percent or more of

CalMatters.




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       Courthouse News Service is a privately held corporation with no

parent corporation and no publicly held corporation holds more than 10

percent of its stock.

       The E.W. Scripps Company is a publicly traded company with

no parent company. No individual stockholder owns more than 10% of

its stock.

       The Foundation for National Progress (d/b/a The Center for

Investigative Reporting) is a California non-profit public benefit

corporation that is tax-exempt under section 501(c)(3) of the Internal

Revenue Code. It has no statutory members and no stock.

       Gannett Co., Inc. is a publicly traded company and has no

affiliates or subsidiaries that are publicly owned. BlackRock, Inc. and

the Vanguard Group, Inc. each own ten percent or more of the stock

of Gannett Co., Inc.

       Hearst Corporation is privately held and no publicly held

corporation owns 10% or more of Hearst Corporation.

       The Media Institute is a 501(c)(3) non-stock corporation with no

parent corporation.

       The Media Law Resource Center has no parent corporation and

issues no stock.



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      The National Freedom of Information Coalition is a nonprofit

organization that has not issued any shares or debt securities to the

public, and has no parent companies, subsidiaries, or affiliates that have

issued any shares or debt securities to the public.

      National Press Photographers Association is a 501(c)(6)

nonprofit organization with no parent company. It issues no stock and

does not own any of the party’s or amicus’ stock.

      National Public Radio, Inc. is a privately supported, not-for-

profit membership organization that has no parent company and issues

no stock.

      The New York Times Company is a publicly traded company

and has no affiliates or subsidiaries that are publicly owned. No

publicly held company owns 10% or more of its stock.

      News/Media Alliance is a nonprofit, non-stock corporation

organized under the laws of the commonwealth of Virginia. It has no

parent company.

      Online News Association is a not-for-profit organization. It has

no parent corporation, and no publicly traded corporation owns 10% or

more of its stock.




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      No entity has an ownership interest of 10 percent or more in

Pacific Media Workers Guild (The NewsGuild-CWA Local 39521).

      PEN American Center, Inc. has no parent or affiliate corporation.

      No publicly held corporations own any stock in the Philadelphia

Inquirer, PBC, or its parent company, the non-profit Lenfest Institute

for Journalism, LLC.

      Pro Publica, Inc. (“ProPublica”) is a Delaware nonprofit

corporation that is tax-exempt under section 501(c)(3) of the Internal

Revenue Code. It has no statutory members and no stock.

      The Seattle Times: The McClatchy Company, LLC owns 49.5%

of the voting common stock and 70.6% of the nonvoting common stock

of The Seattle Times Company.

      The Society of Environmental Journalists is a 501(c)(3) non-

profit educational organization. It has no parent corporation and issues

no stock.

      Society of Professional Journalists is a non-stock corporation

with no parent company.

      Student Press Law Center is a 501(c)(3) not-for-profit

corporation that has no parent and issues no stock.




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         TEGNA Inc. has no parent company, and no publicly-held

company has a 10% or greater ownership interest in TEGNA, Inc.

         Vox Media, LLC has no parent corporation. NBCUniversal

Media, LLC, a publicly held corporation, owns at least 10% of Vox's

stock.

         WP Company LLC d/b/a The Washington Post is a wholly-

owned subsidiary of Nash Holdings LLC, a holding company owned

by Jeffrey P. Bezos. WP Company LLC and Nash Holdings LLC are

both privately held companies with no securities in the hands of the

public.




Dated: February 8, 2024                     s/ Theodore J. Boutrous, Jr.
                                            Theodore J. Boutrous, Jr.




                                  v
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   IDENTITY AND INTEREST OF AMICI CURIAE AND
  SOURCE OF THEIR AUTHORITY TO FILE THIS BRIEF

      Amici are the Reporters Committee for Freedom of the Press;

The Atlantic Monthly Group LLC; Cable News Network, Inc.

(“CNN”); CalMatters; Courthouse News Service; The E.W. Scripps

Company; The Foundation for National Progress; Gannett; Hearst; The

Media Institute; the Media Law Resource Center, Inc. (“MLRC”); The

National Freedom of Information Coalition; National Public Radio, Inc.

(NPR); The National Press Photographers Association (“NPPA”); The

New York Times Company; The News/Media Alliance; the Online

News Association; The Pacific Media Workers Guild, Local 39521 of

The NewsGuild – Communications Workers of America; PEN

American Center (“PEN America”); The Philadelphia Inquirer;

ProPublica, Inc. (“ProPublica”); The Seattle Times Company; The

Society of Environmental Journalists; Society of Professional

Journalists (“SPJ”); Student Press Law Center (“SPLC”); TEGNA Inc.;

Vox Media, LLC; and WP Company LLC d/b/a The Washington Post.

      Journalists and news organizations are the frequent targets of

strategic lawsuits against public participation (“SLAPPs”) designed to

punish and deter constitutionally protected newsgathering and

reporting activities. If this Court were to overrule its longstanding,


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well-reasoned precedents establishing that California’s anti-SLAPP

statute applies in federal court, it would have broad ramifications for

the press and Media Amici, in particular, emboldening plaintiffs to

pursue harassing and meritless federal court litigation that evades and

thwarts substantive state law and policy and that could impair the

press’s ability to report the news and keep the public informed. Media

Amici therefore have a strong interest in ensuring that federal courts

sitting in diversity properly interpret and apply the substantive

provisions of state anti-SLAPP laws.

      The Reporters Committee for Freedom of the Press and Media

Amici take no position on the merits of the parties’ claims. Media

Amici have obtained consent to file this brief from both parties and

therefore may file it pursuant to Federal Rule of Appellate Procedure

29(a)(2).

      Pursuant to Federal Rule of Appellate Procedure 29(a)(4)(E),

Media Amici state that no party’s counsel authored this brief in whole

or in part; no party or party’s counsel contributed money intended to

fund preparing or submitting this brief; and no person, other than

amicus the Reporters Committee, its members or counsel, contributed

money intended to fund preparing or submitting this brief.


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                           INTRODUCTION

       Our system of self-governance depends on open debate among

an informed public.          But strategic lawsuits against public

participation—or “SLAPPs”—threaten the free exchange of ideas.

Even when SLAPP plaintiffs cannot prevail on the merits, they can

intimidate and punish their targets with time-consuming and costly

litigation, thereby deterring future speech on matters of public concern.

In this way, SLAPPs pose a particularly acute threat to the practice of

journalism: Potential sources may be unwilling to share their stories,

for fear of inviting costly and harassing lawsuits, and journalists and

media organizations must contend with the constant specter of

litigation.

       More than thirty years ago, the California Legislature enacted a

statute that expressly sought to stem the “disturbing increase” in

SLAPPs and enshrined a vital substantive state policy into law. It

explained that plaintiffs bring these lawsuits “primarily to chill the valid

exercise of the constitutional rights of freedom of speech and petition

for the redress of grievances.” Cal. Civ. Proc. Code § 425.16(a). And

it expressly declared “that it is in the public interest to encourage

continued participation in matters of public significance.” Id. To



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further that public interest, California’s anti-SLAPP statute includes a

particularly crucial substantive right for defendants who prevail on an

anti-SLAPP special motion to strike:        It entitles them to recover

attorney’s fees and costs to deter baseless lawsuits targeting speech and

to compensate journalists, news organizations and others who are

named in such suits.

      That statutory right is directly linked to the specific substantive

policy interest California sought to advance with its anti-SLAPP law:

Defendants have a right to attorney’s fees only where they prevail in an

action arising from any act in furtherance of their “right of petition or

free speech under the United States Constitution or the California

Constitution in connection with a public issue.” Cal. Civ. Proc. Code §

425.16(b)(1) (emphasis added). Fee shifting helps non-affluent targets

of SLAPPs secure representation. It also causes a potential plaintiff to

think twice before bringing a lawsuit to chill speech. In this way,

California alleviates the financial burden of defending against a

SLAPP—and provides a powerful deterrent against frivolous claims.

      For the last twenty-five years, this Court has repeatedly upheld

California’s interest in protecting its citizens from SLAPPs by requiring

district courts to apply the core substantive elements of the anti-SLAPP


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statute—including its fee-shifting provision—while adjudicating

motions to strike under the Federal Rules. See Planned Parenthood

Fed’n of Am., Inc. v. Ctr. for Med. Progress, 890 F.3d 828, 833,

amended, 897 F.3d 1224 (9th Cir. 2018); CoreCivic, Inc. v. Candide

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v. Maddow, 8 F.4th 1148, 1156 (9th Cir. 2021); U.S. ex rel. Newsham

v. Lockheed Missiles & Space Co., 190 F.3d 963, 973 (9th Cir. 1999).

      That well-reasoned approach to applying the anti-SLAPP statute

in diversity actions avoids any conflict with the Federal Rules, prevents

forum shopping, has caused no problems of administration, and fully

comports with Erie Railroad Co. v. Tompkins, 304 U.S. 64 (1938).

Nothing about the Supreme Court’s decision in Shady Grove

Orthopedic Associates, P.A. v. Allstate Insurance Co., 559 U.S. 393

(2010), undermines this approach, as this Court has expressly held. See

CoreCivic, 46 F.4th at 1141–43. Those cases were correctly decided,

and their holdings should be reaffirmed by this Court en banc.

      Indeed, the Federal Rules say nothing about SLAPPs, let alone

what rights defendants have when they defeat such lawsuits targeting

the exercise of core constitutional freedoms that the California

Legislature sought to protect. And this Court has made clear that


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“federal law establishes that attorney’s fees law is substantive for Erie

purposes.” Alaska Rent-A-Car, Inc. v. Avis Budget Grp., Inc., 738 F.3d

960, 973 (9th Cir. 2013) (citing Erie R.R. Co. v. Tompkins, 304 U.S. 64

(1938)) (emphasis added).         A prevailing SLAPP defendant’s

entitlement to attorney’s fees plays no role in determining how a court

decides the motion or otherwise oversees the proceedings before it;

rather, fee shifting reflects the California Legislature’s substantive

policy judgment about the value of speech on a public issue.

      To exclude California’s anti-SLAPP law from federal courts

would violate the Rules Enabling Act’s requirement that federal rules

not “abridge, enlarge or modify any substantive right” that a state

affords to its citizens. 28 U.S.C. § 2072(b). And it would undermine

Erie’s twin aims by triggering forum-shopping and the inequitable

administration of the laws. Hanna v. Plumer, 380 U.S. 460, 468 (1965).

There would be a flood of new SLAPPs in district courts of this Circuit,

with plaintiffs knowing that defendant journalists and others would

have to foot a substantial bill to defend themselves—in the trial court

and in this one—whether they eventually win or lose.

      Anti-SLAPP protections advance our “profound national

commitment to the principle that debate on public issues should be


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uninhibited, robust, and wide-open.” N.Y. Times Co. v. Sullivan, 376

U.S. 254, 270 (1964); see also Counterman v. Colorado, 600 U.S. 66,

78 (2023) (same). Media Amici therefore urge this Court to reaffirm

its longstanding recognition that California citizens are entitled to the

substantive protections of the anti-SLAPP law’s fee-shifting provisions

in federal district court.1

                               ARGUMENT

I.       California’s anti-SLAPP law protects against meritless,
         retaliatory litigation that chills newsgathering and threatens
         press freedom.

       A.      Defamation plaintiffs have long used SLAPPs to try to
               intimidate journalists and silence critical reporting.

         Individuals and corporations have long used defamation suits to

discourage critical news coverage, retaliate against the press, and

stymie public discourse.

         In the late 1950s and early 1960s, for example, Southern

segregationists filed libel suits against news outlets aimed at stifling

“coverage of the civil rights movement and local officials’ repressive



1
 While Media Amici focus this brief on the importance of the continued
application of California’s anti-SLAPP statute in federal court, they
join amicus First Amendment Coalition in strongly urging this Court to
reaffirm its prior precedent holding that a defendant may seek
immediate appellate review of an order denying a motion to strike under
the California anti-SLAPP statute.

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and often brutal responses to it.” Samantha Barbas, A major Supreme

Court First Amendment decision could be at risk, Wash. Post (July 13,

2021), https://wapo.st/3AfGsNd. By 1961, The New York Times faced

“$7 million in potential libel judgments and the possibility of

bankruptcy,” and just three years later, “CBS, the Saturday Evening

Post and the Associated Press faced over $200 million in potential

damages.” Id. The tactic worked for a time, prompting newspapers to

pull reporters out of the South and kill stories “for fear of being slapped

with potentially ruinous libel suits.” Id.

      Recognizing that civil litigation can threaten the freedom of the

press to report on matters of significant public concern, the Supreme

Court in 1964 issued its landmark New York Times Co. v. Sullivan

decision, recognizing that the First Amendment imposes limits on state

libel laws. 376 U.S. at 279–80. In doing so, the Court cautioned that

“would-be critics of official conduct may be deterred from voicing their

criticism, even though it is believed to be true and even though it is in

fact true, because of doubt whether it can be proved in court or fear of

the expense of having to do so.” Id. at 279. The Court stressed that

such self-censorship “dampens the vigor and limits the variety of public

debate,” undermining the purpose of the First Amendment. Id. The


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Court just last Term reaffirmed the important protections afforded by

Sullivan. See Counterman, 600 U.S. at 75–78. As the Court put it in

Counterman, “[p]rohibitions on speech have the potential to chill, or

deter, speech outside their boundaries. A speaker may be unsure about

the side of a line on which his speech falls. Or he may worry that the

legal system will err, and count speech that is permissible as instead

not.” Id. at 75.

      Despite the important constitutional protections recognized by

Sullivan, plaintiffs have continued to use the courts as a tool to harass

and retaliate against members of the press. SLAPP plaintiffs often

pursue meritless cases with little chance of success because inflicting

the burden of costly, years-long litigation on their targets is an end in

itself. “[T]hese cases are not typically intended to secure compensation

for actual injury to reputation. Instead, they are intended to punish the

media for speaking truth to power and to dissuade it from doing so in

the future.” George Freeman & Lee Levine, An increase in libel suits

shows why we need to keep protections for the news media, Wash. Post

(Mar. 8, 2022), http://tinyurl.com/z62tf969.

      Defending against those suits can cost millions of dollars. It can

also require that journalistic resources be diverted to aid in litigation.


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See D. Victoria Baranetsky & Alexandra Gutierrez, What a costly

lawsuit against investigative reporting looks like, Colum. Journalism

Rev. (Mar. 30, 2021), https://bit.ly/3AjdlbO (describing how nonprofit

newsroom deployed “two reporters and one editor working full time”

to manage discovery while defending against a libel lawsuit). And the

consequences extend beyond the specific litigants, as every SLAPP

becomes a cautionary tale that may cause “other news organizations”

to “decide that reporting on powerful or deep-pocketed organizations

isn’t worth the risk.” Id.

      These lawsuits can be particularly devastating for smaller, local

news organizations—often pushing them to the brink of financial ruin.

For example, an Iowa family-owned newspaper published accurate

reporting about a local police officer who was having inappropriate

relationships with teenagers, but spent $140,000 successfully defeating

the officer’s libel lawsuit, placing it in “financial peril.” See, e.g.,

Meagan Flynn, A small-town Iowa newspaper brought down a cop. His

failed lawsuit has now put the paper in financial peril., Wash. Post.

(Oct. 10, 2019), http://tinyurl.com/54wjdnuh. Similarly, a Wisconsin

newspaper spent $150,000—nearly as much as its annual operating

budget—successfully defending against a libel claim by a local


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politician, after the paper reported that he had used a slur during a

community meeting. See Katie Balevic, A judge dismissed a Wisconsin

politician’s defamation suit against a newspaper, but the legal fees may

still   shutter   the   paper,   Bus.    Insider   (Aug.    19,    2023),

http://tinyurl.com/hett79ce.

        The threat is growing. “[T]he past several years have seen a

worrisome increase in libel lawsuits brought by a broad array of

political candidates, elected officials and domestic corporate titans, not

to mention foreign autocrats and oligarchs.” Freeman & Levine, supra.

In particular, journalists and media companies have faced a

proliferation of retaliatory and meritless lawsuits.        See Michael

Norwick, Chapter 3: The Empirical Reality of Contemporary Libel

Litigation, in NEW YORK TIMES V. SULLIVAN: THE CASE FOR

PRESERVING AN ESSENTIAL PRECEDENT, Media L. Resource Ctr. (Mar.

2022), http://tinyurl.com/7b4pjmpu (explaining that “the available data

indicates that the number of libel complaints brought against the media

has actually increased in recent years,” suggesting a “resurgence” in

media defamation cases); see also CoreCivic, 46 F.4th at 1146

(affirming dismissal of SLAPP against media defendant); Planet Aid,

Inc. v. Reveal, 44 F.4th 918, 928 (9th Cir. 2022) (same); Herring


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Networks, 8 F.4th at 1161 (same); Sarver v. Chartier, 813 F.3d 891,

902 (9th Cir. 2016) (same); Brimelow v. New York Times Co., 2021 WL

4901969, at *2 (2d Cir. Oct. 21, 2021), cert. denied sub nom., Brimelow

v. The New York Times Co., 142 S. Ct. 1210 (2022) (defamation claim

against The New York Times by author and website editor); Fairfax v.

CBS Corp., 2 F.4th 286, 294–95 (4th Cir. 2021) (defamation claim

against CBS by former Virginia Lt. Governor); Block v. Tanenhaus,

867 F.3d 585, 588 (5th Cir. 2017) (defamation claim by economics

professor against The New York Times).

         Cases like these have increased public awareness of defamation

claims as a means of lashing out against unfavorable media coverage,

and they are likely to inspire copycat SLAPPs by other potential

plaintiffs looking to do the same.

       B.      California’s anti-SLAPP law, and its fee-shifting
               framework in particular, is a vital substantive
               protection against SLAPPs.

         In 1992, California was among the first states to adopt an anti-

SLAPP statute.2 The California Legislature enacted the law in response



2
  In the decades since, a national consensus has begun to emerge: 32
states and the District of Columbia have adopted some form of anti-
SLAPP protections. Austin Vining & Sarah Matthews, Overview of
                                                 (Cont’d on next page)

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to “a disturbing increase in lawsuits brought primarily to chill the valid

exercise of the constitutional rights of freedom of speech and petition

for the redress of grievances.” Cal. Civ. Proc. Code § 425.16(a). The

Legislature recognized “that it is in the public interest to encourage

continued participation in matters of public significance, and that this

participation should not be chilled through abuse of the judicial

process.” Id. “By enacting the anti-SLAPP statute, the Legislature

intended to provide SLAPP defendants an efficient tool to quickly and

inexpensively unmask and defeat SLAPP suits.”                Dowling v.

Zimmerman, 103 Cal. Rptr. 2d 174, 200 (Cal. Ct. App. 2001).

      “The fee-shifting provision” of California’s anti-SLAPP statute

is “the linchpin of the . . . law’s protective character.”      Shannon

Jankowski & Charles Hogle, SLAPP-ing Back: Recent Legal

Challenges to the Application of State Anti-SLAPP Laws, Am. Bar

Ass’n (March 16, 2022), http://tinyurl.com/mum2knd7.                  By

“establish[ing] that ‘a prevailing defendant . . . shall be entitled to

recover his or her attorney’s fees and costs[,]’” that provision helps to

“achieve the cardinal, substantive goal of California’s anti-SLAPP law:


Anti-SLAPP Laws, Reporters Comm. for Freedom of the Press,
https://www.rcfp.org/introduction-anti-slapp-guide/ (last visited Feb.
7, 2024).

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protecting individuals and news organizations from devastatingly

expensive lawsuits designed to punish them for, and deter them from,

engaging in speech on matters of public importance.” Id. (quoting Cal.

Civ. Proc. Code § 425.16(c)(1)).

      As the Supreme Court of California has explained, California’s

fee-shifting provision was “intended to discourage [SLAPPs] by

imposing the litigation costs” on plaintiffs, and it “also encourages

private representation in SLAPP cases, including situations when a

SLAPP defendant is unable to afford fees or the lack of potential

monetary damages precludes a standard contingency fee arrangement.”

Ketchum v. Moses, 24 Cal. 4th 1122, 1131 (2001); see also Barry v.

State Bar of California, 2 Cal. 5th 318, 327–28 (2017) (describing the

“apparent purpose” of “the anti-SLAPP’s fee-shifting provision” to be

“compensating the prevailing defendant for the undue burden of

defending against litigation designed to chill the exercise of free speech

and petition rights”).

      Thus, the fee-shifting provision is the consequence of the

California Legislature’s substantive policy decision to deter litigants

from filing meritless SLAPPs designed to chill speech in connection

with public issues. That protection is essential for members of the


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media, among others, because it protects their ability to report on

matters of public importance without fearing the potentially devastating

consequences of retaliatory litigation.

II.   This Court has repeatedly and correctly held that the
      substantive provisions of California’s anti-SLAPP law
      apply in federal court.

      Federal courts sitting in diversity “apply state substantive law

and federal procedural law,” Hanna, 380 U.S. at 465, using a two-step

analysis to determine whether a state law applies. Courts first ask

whether a Federal Rule “answers the question in dispute.” Shady

Grove, 559 U.S. at 398. If it does, the Federal Rule governs so long as

it does not violate the Rules Enabling Act. Id. If no Federal Rule

applies, then the Rules of Decision Act mandates the application of

state substantive law, where the failure to apply it “would significantly

affect the result of a litigation.” Gasperini v. Ctr. for Humanities, Inc.,

518 U.S. 415, 427 (1996) (citation omitted). “[F]ederal rules must be

interpreted with some degree of ‘sensitivity to important state

interests.’” Shady Grove, 559 U.S. at 418 (Stevens, J., concurring)

(quoting Gasperini, 518 U.S. at 427 n.7).

      Over the last twenty-five years, this Court has repeatedly

considered whether “relevant provisions of California’s Anti-SLAPP



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statute may properly be applied in federal court.” Newsham, 190 F.3d

at 972. And it has repeatedly reaffirmed that “there is no direct conflict

between” “the special motion to strike, § 425.16(b), and the availability

of fees and costs, § 425.16(c),” on the one hand, and the Federal Rules

of Civil Procedure, on the other hand. Metabolife Intern., Inc. v.

Wornick, 264 F.3d 832, 845 (9th Cir. 2001).3

         In Newsham, this Court held that California’s anti-SLAPP law

“is crafted to serve an interest not directly addressed by the Federal

Rules: the protection of ‘the constitutional rights of freedom of speech

and petition for redress of grievances.’” 190 F.3d at 973 (quoting Cal.

Civ. Proc. Code § 425.16(a)). Accordingly, this Court concluded that

the California anti-SLAPP statute and the Federal Rules “‘can exist side



3
 See Newsham, 190 F.3d at 972; Metabolife, 264 F.3d at 845–46; Batzel
v. Smith, 333 F.3d 1018, 1025–26 (9th Cir. 2003); Mindys Cosmetics,
Inc. v. Dakar, 611 F.3d 590, 598 (9th Cir. 2010); Makaeff v. Trump
Univ., LLC, 715 F.3d 254, 271 (9th Cir. 2013) (“Makaeff I”), reh’g
denied, 736 F.3d 1180 (9th 2013); DC Comics v. Pac. Pictures Corp.,
706 F.3d 1009, 1013 (9th Cir. 2013); Davis v. Elec. Arts Inc., 775 F.3d
1172, 1176 (9th Cir. 2015); Travelers Cas. Ins. Co. of Am. v. Hirsh, 831
F.3d 1179, 1180 (9th Cir. 2016); Breazeale v. Victim Servs., Inc., 878
F.3d 759, 767 (9th Cir. 2017); Planned Parenthood, 890 F.3d at 833;
Drexler v. Billet, 784 F. App’x 548, 549 (9th Cir. 2019); Herring
Networks, 8 F.4th at 1155–57; RLI Ins. Co. v. Langan Eng’g, Envtl.,
Surveying & Landscape Architecture, D.P.C., 834 F. App’x 362, 363
(9th Cir. 2021); Planet Aid, 44 F.4th at 928–29; CoreCivic, 46 F.4th at
1140–43.

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by side . . . each controlling its own intended sphere of coverage without

conflict.’” Id. at 972 (quoting Walker v. Armco Steel Corp., 446 U.S.

740, 752 (1980)).

      In Planned Parenthood, decided eight years after the Supreme

Court’s decision in Shady Grove, this Court clarified that district courts

must apply federal procedure when adjudicating anti-SLAPP motions

to strike under California law.         Under the Planned Parenthood

framework, “an anti-SLAPP motion to strike founded on purely legal

arguments” is analyzed under the standards of Federal Rules 8 and 12,

while a motion to strike that raises a “factual challenge” is analyzed

under Rule 56. 890 F.3d at 833 (quoting Z.F. v. Ripon Unified Sch.

Dist., 482 F. App’x 239, 240 (9th Cir. 2012)). This Court confirmed

that “the attorney’s fee provision of § 425.16” still “applies.” 890 F.3d

at 834 (citation omitted).

      Since deciding Planned Parenthood in 2018, this Court has

repeatedly confirmed that under its analytical framework “‘there is no

direct collision’ between the special motion to strike subsection of the

statute and the Federal Rules.” Herring Networks, 8 F.4th at 1155

(quoting Newsham, 190 F.3d at 972); see also Drexler, 784 F. App’x at

549 (applying Planned Parenthood in case arising under California


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anti-SLAPP law). Most recently, in CoreCivic, this Court expressly

considered “whether [its] long line of precedents holding that

California’s anti-SLAPP statute applies in federal court” were in

harmony with Shady Grove. 46 F.4th at 1138. After close analysis of

Shady Grove, this Court held that they were: “[T]o the extent that

Shady Grove altered the relevant inquiry at all, it remains reconcilable

with our precedents after our decision in Planned Parenthood.” Id. at

1143.

         Thus, this Court has correctly confirmed for decades, over and

over, that the substantive provisions of California’s anti-SLAPP law,

including, importantly, its attorney’s fee provision, apply in federal

diversity cases. This Court should decline to nullify its long line of

anti-SLAPP jurisprudence, and to reach a legally erroneous result, by

precluding the application of these provisions in this Circuit.4



4
  Such a decision could also lead to disputes over possible impacts on
the decisions by the Courts of this Circuit applying the substantive anti-
SLAPP protections that the legislatures of Hawaii, Nevada, Oregon,
and Washington have afforded to their citizens. See, e.g., Wynn v.
Bloom, 852 F. App’x 262, 263 (9th Cir. 2021) (applying Nevada’s anti-
SLAPP statute); Schwern v. Plunkett, 845 F.3d 1241, 1245 (9th Cir.
2017) (applying Oregon’s anti-SLAPP statute); Phoenix Trading, Inc.
v. Loops LLC, 732 F.3d 936, 941–43 (9th Cir. 2013) (applying
Washington’s anti-SLAPP law); Villeza v. United States, 2006 WL
                                                   (Cont’d on next page)

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    A.        The California anti-SLAPP statute’s fee-shifting
              provision embodies a substantive policy judgment of
              the California Legislature

       As this Court recognized in Newsham, California’s anti-SLAPP

statute expressly “articulate[s] the important, substantive state interests

furthered by” its provisions. 190 F.3d at 973 (emphasis added). The

fee-shifting provision in California’s anti-SLAPP statute is designed to

achieve the fundamentally substantive objective of minimizing SLAPP

suits that chill the exercise of core constitutional rights. See Kurns v.

R.R.     Friction   Prods.   Corp.,    565   U.S.    625,    637   (2012)

(“[S]tate ‘regulation can be . . . effectively exerted through an award of

damages,’ and ‘[t]he obligation to pay compensation can be, indeed is

designed to be, a potent method of governing conduct and controlling

policy.’”) (quoting San Diego Building Trades Council v. Garmon,

359 U.S. 236, 247 (1950)).

       In fact, the Supreme Court has made clear that state laws

providing for the recovery of attorney’s fees “reflect[] a substantial

policy of the state” because they further state policies governing

litigation. Alyeska Pipeline Serv. Co. v. Wilderness Soc’y, 421 U.S.




278618, at *5–6 (D. Haw. Jan. 5, 2006) (applying Hawaii’s anti-SLAPP
statute).

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240, 259 n.31 (1975). Accordingly, “when a federal court sits in a

diversity case” and “the state law does not run counter to a valid federal

statute or rule of court, and usually it will not, state law denying the

right to attorney’s fees or giving a right thereto . . . should be followed.”

Id. (internal quotation omitted).

       In People of Sioux County v. National Surety Co., 276 U.S. 238

(1928), for example, the Supreme Court held that a state statute

requiring an award of attorney’s fees should be applied in a case

removed from state courts to federal courts. Id. at 243. According to

the Sioux County Court, “it is clear that it is the policy of the state to

allow plaintiffs to recover an attorney’s fee in certain cases, and it has

made that policy effective by making the allowance of the fee

mandatory on its courts in those cases.” Id. The Court emphasized that

“[i]t would be at least anomalous if this policy could be thwarted and

the right so plainly given destroyed by removal of the cause to the

federal courts.” Id.

       While the Court decided Sioux County prior to Erie, it saw

“nothing after Erie requiring a departure from [Sioux County’s] result.”

Alyeska Pipeline, 421 U.S. at 259 n.31; see also Chambers v. NASCO,

Inc., 501 U.S. 32, 52 (1991) (confirming that “fee-shifting rules . . .


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such as a statute which permits a prevailing party in certain classes of

litigation to recover fees” “embody a substantive policy”) (emphasis

added).   Indeed, this Court has held—after both Erie and Shady

Grove—that the question of whether federal law or state law applies to

an attorney’s fees award is “easily answered.” Alaska Rent-A-Car, Inc.,

738 F.3d at 973; see also Kona Enters., Inc. v. Estate of Bishop, 229

F.3d 877, 883 (9th Cir. 2000) (“A federal court sitting in diversity

applies the law of the forum state regarding an award of attorneys’

fees.”). Simply put, “federal law establishes that attorney’s fees law is

substantive for Erie purposes.” Alaska Rent-a-Car, Inc., 738 F.3d at

973.

    B.       California’s anti-SLAPP fee-shifting provision does
             not conflict with any Federal Rule

       Moreover, fee shifting under the anti-SLAPP statute does not

conflict with the Federal Rules or attempt to “answer” any question that

they resolve. See CoreCivic, 46 F.4th at 1141 (quoting Shady Grove,

559 U.S. at 399). As this Court correctly held in CoreCivic, the

Planned Parenthood approach to applying California’s anti-SLAPP

law in diversity cases is consistent with the Supreme Court’s Erie

precedents—including the decision in Shady Grove. Id. at 1141–43.




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        In Shady Grove, “the justices fractured 4-4-1” and only “the first

part” of Justice Scalia’s plurality opinion constituted a binding majority

opinion. CoreCivic, 46 F.4th at 1141; see 559 U.S. at 395. But as this

Court observed in CoreCivic, that portion of the opinion “broke little

new ground with respect to the standard for assessing a potential

conflict between the federal rules and state law.” 46 F.4th at 1141. It

simply “made clear that the first step in the analysis was to ask whether

the apparently conflicting federal and state rules ‘answer the same

question.’” Id. (quoting Shady Grove, 559 U.S. at 399). “The Court did

not discard the ‘direct collision’ test; it merely repackaged it.” Id. at

1142.

        Shady Grove “remains reconcilable with [Ninth Circuit]

precedents after [the] decision in Planned Parenthood.” Core Civic,

46 F.4th at 1143. In Shady Grove, the Court noted that “even artificial

narrowing cannot render [New York’s class action statute] compatible

with Rule 23.” 559 U.S. at 405. “Whatever the policies they pursue,

they flatly contradict each other.” Id. (emphasis in original). By

contrast, “[n]o such conflict exists in this Circuit” between the Federal

Rules and the substantive provisions of California’s anti-SLAPP

statute. CoreCivic, 46 F.4th at 1143. “In order to prevent the collision


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of California state procedural rules with federal procedural rules,” this

Court “review[s] anti-SLAPP motions to strike under different

standards depending on the motion’s basis.” Planned Parenthood, 890

F.3d at 833. Under that framework, “when an anti-SLAPP motion to

strike challenges only the legal sufficiency of a claim, a district court

should apply the Federal Rule of Civil Procedure 12(b)(6) standard and

consider whether a claim is properly stated,” thus avoiding any conflict

with Federal Rules 8 or 12. Planned Parenthood, 890 F.3d at 834. And

“when an anti-SLAPP motion to strike challenges the factual

sufficiency of a claim, then the Federal Rule of Civil Procedure 56

standard will apply” and “discovery must be allowed,” thus avoiding

any disharmony with Rule 56. Id.

      This “interpretation eliminates conflicts between California’s

anti-SLAPP law’s procedural provisions and the Federal Rules of Civil

Procedure,” by allowing federal procedure to apply while preserving

California law’s substantive protections—in particular, the anti-SLAPP

law’s fee-shifting provision. Planned Parenthood, 890 F.3d at 833.

Only after the court grants such a motion according to the Federal Rules

standard and finds that the claims concerned speech or petitioning




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activity on a public issue is a prevailing defendant’s right to attorney’s

fees triggered.5

         Moreover, it is clear that Federal Rule of Civil Procedure 11 does

not “answer the same question” as California’s anti-SLAPP fee-shifting

provision. Rule 11 has nothing to do with a litigant’s rights when she

defeats a California cause of action that targets her speech in connection

with a public issue: It focuses on “representations to the court” during

the course of a proceeding. Fed. R. Civ. P. 11(b) (capitalization

omitted).     It is procedural and “not tied to the outcome of [the]

litigation.” Bus. Guides, Inc. v. Chromatic Commc’ns. Enters., Inc.,

498 U.S. 533, 553 (1991). “Nor,” under Rule 11, “do sanctions shift

the entire cost of litigation; they shift only the cost of a discrete event.”




5
  This Court’s precedents are also consistent with Justice Stevens’
Shady Grove concurrence, which at least two other Circuits consider to
be “controlling.” See Albright v. Christensen, 24 F.4th 1039, 1044 (6th
Cir. 2022); Los Lobos Renewable Power, LLC v. Americulture, Inc.,
885 F.3d 659, 668 n.3 (10th Cir. 2018). Justice Stevens emphasized
that a federal rule should not “displace a state law that is procedural in
the ordinary use of the term but is so intertwined with a state right or
remedy that it functions to define the scope of the state-created right.”
559 U.S. at 423 (Stevens, J., concurring). Even if California’s anti-
SLAPP law were considered “procedural,” it is plainly intertwined with
the substantive right to “continued participation in matters of public
significance” without such “participation . . . be[ing] chilled through
abuse of the judicial process.” Cal. Civ. Proc. Code § 425.16(a).

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Id. Moreover, “the Rule calls only for ‘an appropriate sanction’—

attorney’s fees are not mandated.” Id. The Supreme Court could not

be more clear: “‘Rule 11 is not a fee-shifting statute . . . .’” Id. (quoting

Cooter & Gell v. Hartmax Corp., 496 U.S. 384, 409 (1990)).

      Thus, rules governing “the assessment of attorney’s fees as a

sanction for bad-faith conduct before the court” answer a

fundamentally different question than a statute, like California’s anti-

SLAPP law, that “permits a prevailing party in certain classes of

litigation to recover fees.” Chambers, 501 U.S. at 52–53; see In re S.

Cal. Sunbelt Developers, Inc., 608 F.3d 456, 462 (9th Cir. 2010)

(“Like other fee-shifting provisions and in contrast to Rule 11,

eligibility for fees [under 11 U.S.C. § 303] turns on the merits of the

litigation as a whole, rather than on whether a ‘specific filing’ is

well founded.”) (quoting Bus. Guides, 498 U.S. at 553).

      The anti-SLAPP statute’s right to attorney’s fees thus exists

independent of the Federal Rules, like the attorney’s fees that this Court

has allowed litigants to recover under other California laws without

invoking Rule 11. See, e.g., Wilson v. Tesla, Inc., 833 F. App’x 59, 61

(9th Cir. 2020) (wage and hour); Rodriguez v. County of Los Angeles,

891 F.3d 776, 809 (9th Cir. 2018) (civil rights); CRST Van Expedited,


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Inc. v. Werner Enters., Inc., 479 F.3d 1099, 1111 (9th Cir. 2007) (trade

secret); Mangold v. Cal. Pub. Utils. Comm’n, 67 F.3d 1470, 1478–79

(9th Cir. 1995) (age discrimination).

      Because fee shifting under California’s anti-SLAPP statute is a

substantive state-created right that does not “attempt[] to answer the

same question” as any Federal Rule of Civil Procedure, Shady Grove,

559 U.S. at 393, this Court should apply California’s fee-shifting

provision so long as it consistent with Erie’s “twin aims” of avoiding

forum shopping and “inequitable administration of the laws,” Hanna,

380 U.S. at 468.

    C.       Applying California’s substantive anti-SLAPP
             protections in federal court advances the twin aims of
             Erie and upholds federalism principles.

      It is well-settled that Erie’s mandate to apply state substantive

law and federal procedure promotes two key goals: discouraging

forum-shopping and avoiding the “inequitable administration of the

laws.” Hanna, 380 U.S. at 468. These principles are significant. As

Justice Harlan explained, Erie is “one of the modern cornerstones of

our federalism, expressing policies that profoundly touch the allocation

of judicial power between the state and federal systems.” Hanna, 380

U.S. at 474 (Harlan, J., concurring).



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      These “twin purposes of the Erie rule . . . favor application of

California’s Anti-SLAPP statute in federal cases.” Newsham, 190 F.3d

at 973. As Judge Wardlaw has explained:

      Without anti-SLAPP protections in federal courts, SLAPP
      plaintiffs would have an incentive to file or remove to
      federal courts strategic, retaliatory lawsuits that are more
      likely to have the desired effect of suppressing a SLAPP
      defendant’s speech-related activities. Encouraging such
      forum-shopping chips away at “one of the modern
      cornerstones of our federalism.”

Makaeff v. Trump Univ., LLC, 736 F.3d 1180, 1187 (9th Cir. 2013)

(“Makaeff II”) (Wardlaw, J., concurring) (quoting Hanna, 380 U.S. at

474 (Harlan, J., concurring)).

      SLAPP plaintiffs already engage in lateral forum shopping

between state courts in order to evade strong fee-shifting provisions.

See, e.g., Ted Johnson, Judge Orders Transfer of Devin Nunes’ CNN

Case From Virginia to New York, Deadline (May 22, 2020),

https://bit.ly/3iEQQYX (libel lawsuit transferred from Virginia to New

York after court expressed “significant concerns about forum

shopping”); Baranetsky & Gutierrez, supra (plaintiff tried repeatedly to

sue California-based newsroom in Maryland court because Maryland’s

“far weaker” anti-SLAPP law has no fee-shifting provision).




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      If the federal forum allowed SLAPP plaintiffs to evade the

substantive provisions of California’s law, and its fee-shifting provision

in particular, SLAPP plaintiffs also could be expected to engage in

vertical forum-shopping from state to federal court. Cf. William H.J.

Hubbard, An Empirical Study of the Effect of Shady Grove v. Allstate

on Forum Shopping in the New York Courts, 10 J. L. Econ. & Pol’y

151, 152–53 (2013) (documenting “fairly dramatic” increase in

“vertical forum shopping” following Shady Grove). Where diversity

among the parties exists, plaintiffs would merely have to inflate the

value of their claims to bring suit in federal court. This could “put the

federal courts at risk of being swept away in a rising tide of frivolous

state actions that would be filed in [this] circuit’s federal courts.”

Makaeff II, 736 F.3d at 1187 (Wardlaw, J., concurring).

      Applying California’s anti-SLAPP protections in federal court

also promotes the equitable administration of the laws.          Were it

otherwise, the core protection that the California Legislature enacted to

protect speech on public issues would vanish for many journalists and

other defendants in this Circuit. That protection would exist in a state

courthouse but not in a federal courthouse next door. Californians

would therefore face “two conflicting systems of law controlling” their


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activity, giving rise to “debilitating uncertainty in the planning of

everyday affairs.” Hanna, 380 U.S. at 474 (Harlan, J., concurring).

That inequitable result would conflict with this Court’s precedent and

common sense. Californians should be able to rely on these protections,

as their Legislature intended, without fear they may be unavailable in

federal court.

    D.       Overruling this Court’s prior precedents would
             create—not resolve—a circuit split.

      Finally, this Court should not overrule its precedents applying

the substantive provisions of California’s anti-SLAPP statute in federal

court because doing so would create a circuit split—or, to the extent

one already exists, exacerbate it considerably.

      No other Circuit has squarely held that anti-SLAPP fee-shifting

frameworks do not apply in federal diversity cases. To the contrary,

the First, Second, and Fifth Circuits all recognize that substantive state-

law anti-SLAPP protections, including fee shifting, do apply in federal

court. See Godin v. Schencks, 629 F.3d 79, 88 (1st Cir. 2010) (holding

that Federal Rules 12(b)(6) and 56 “are not so broad as to cover the

issues within the scope” of Maine’s anti-SLAPP statute and thus “do

not ‘attempt[] to answer the same question’” (quoting Shady Grove, 559

U.S. at 399)); Adelson v. Harris, 774 F.3d 803, 809 (2d Cir. 2014)


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(holding that provisions of Nevada’s anti-SLAPP law which provide

for “immunity from civil liability” and “mandatory fee shifting” apply

in federal court, because they are “substantive within the meaning of

Erie” and “do not squarely conflict with a valid federal rule” (emphasis

added)); Henry v. Lake Charles American Press, L.L.C., 566 F.3d 164,

168–69 (5th Cir. 2009) (applying Louisiana’s statute even though it is

“nominally[] procedural”).

      Moreover, where other Circuits have declined to apply state anti-

SLAPP provisions in federal court, they have largely done so on the

theory that state anti-SLAPP statutes “establish[] the circumstances

under which a court must dismiss a plaintiff’s claim before trial,” while

Federal Rules 8, 12, and 56 “answer that question differently.” Abbas

v. Foreign Policy Grp., 783 F.3d 1328, 1333–34 (D.C. Cir. 2015); see

also La Liberte v. Reid, 966 F.3d 79, 87–88 (2d Cir. 2020); Klocke v.

Watson, 936 F.3d 240, 246 (5th Cir. 2019); Carbone v. Cable News

Network, 910 F.3d 1345, 1350 (11th Cir. 2018).

      In La Liberte, the Second Circuit “conclude[d] that the special

motion to strike in California’s anti-SLAPP statute answers the same

question as Federal Rules 12 and 56,” and held that it did not apply in

diversity cases in that Circuit. 966 F.3d at 87. But the Second Circuit’s


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decision did not expressly consider or reject the harmonizing

interpretation that this Court articulated in Planned Parenthood.

      Rather, La Liberte—and Abbas, Klocke, and Carbone, in

addressing other anti-SLAPP statutes—all “grounded their reasoning in

conflicts between those statutes’ heightened pleading standards and the

standards dictated by Rules 8, 12, and 56.” CoreCivic, 46 F.4th at 1143.

“No such conflict exists in this Circuit.” Id. This Court’s longstanding

precedent makes clear that when a court of this Circuit applies

California’s anti-SLAPP statute, the Federal Rules govern the standards

for what a plaintiff must plead or show to stave off dismissal of the

complaint. See Planned Parenthood, 890 F.3d at 834.

      Thus, to the extent other Circuits have diverged from this Court

on the issue of whether and how state anti-SLAPP laws apply in federal

court, it is because they have painted with a broader brush than this

Court did in Planned Parenthood—not because they differ from this

Court in their interpretation of Erie and Shady Grove. This Court would

unnecessarily draw new inter-circuit fault lines if it were to reverse its

longstanding precedent by ruling that the substantive provisions of

California’s anti-SLAPP statute do not apply in federal diversity cases.




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                            CONCLUSION

      The    Supreme     Court    has   repeatedly   made     clear   that

“[t]he maintenance of the opportunity for free political discussion to the

end that government may be responsive to the will of the people and

that changes may be obtained by lawful means, an opportunity essential

to the security of the Republic, is a fundamental principle of our

constitutional system.” Sullivan, 376 U.S. at 269 (quoting Stromberg

v. California, 283 U.S. 359, 369 (1931)); see also Nat’l Review, Inc. v.

Mann, 140 S. Ct. 344, 346 (2019) (Alito, J., dissenting from denial of

certiorari) (“The constitutional guarantee of freedom of expression

serves many purposes, but its most important role is protection of robust

and uninhibited debate on important political and social issues.

If citizens cannot speak freely and without fear about the most

important issues of the day, real self-government is not possible.”

(internal citations omitted)).

      The robust substantive protections afforded by California’s anti-

SLAPP law and, in particular, its fee-shifting provision—protections

the California Legislature deemed necessary more than thirty years

ago—are truly indispensable now. This Court has faithfully followed

the Supreme Court’s Erie guidance, including in Shady Grove, in



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holding that California’s anti-SLAPP substantive provisions apply in

diversity cases in federal court. This Court should reaffirm those

precedents, which are essential to the protection of core constitutional

freedoms.



Dated: February 8, 2024            Respectfully submitted,


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               CERTIFICATE OF COMPLIANCE

      I certify that pursuant to Fed. R. App. P. 32(a)(7)(C) and Ninth

Circuit Rules 29(a)(3) and 32-1, the foregoing Brief of Reporters

Committee for Freedom of the Press and 27 Media Organizations as

Amici Curiae in Support of Neither Party is proportionately spaced, has

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                  CERTIFICATE OF SERVICE

      I hereby certify that on February 8, 2024, I filed the foregoing

Brief of Reporters Committee for Freedom of the Press and 27 Media

Organizations as Amici Curiae in Support of Neither Party with the

Clerk of Court for the United States Court of Appeals for the Ninth

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